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UNITED STATES DISTRICT COURT                                            MAGISTRATE JUDGE'S MINUTES
DISTRICT OF ARIZONA - Phoenix

DATE: 1/11/2021             CASE NUMBER: 21-5000MJ

USA vs.      Jacob Anthony Chansley

U.S. MAGISTRATE JUDGE: DEBORAH M. FINE

Assistant U.S. Attorney: Kristen Brooks                         INTERPRETER            N/A
                                                                LANGUAGE            N/A
Attorney for Defendant: AFPD Gerald Williams (for proceedings held in the District of Arizona only)
DEFENDANT:             PRESENT    NOT PRESENT  CUSTODY via audio-teleconference
Date of Arrest: 1/8/2021

 Initial Appearance in Rule 5 Proceedings held
 Defendant sworn as to Financial Status
 Appointment of Counsel Hearing held
 Defendant states his true name to be Jacob Anthony Angeli Chansley. Further proceedings ordered in
defendant=s true name.

 DETENTION HEARING:                                   IDENTITY HEARING:

 Set for:
 Before:
              1/15/2021 at 2:30 pm
              Magistrate Judge Deborah M Fine in
                                                         Waived.
              Courtroom 304.                             The Court finds identity has been established.

                                                      PRELIMINARY HEARING:
      Defendant temporarily detained pending
                                                       Reserved for the prosecuting district.
       further proceedings in this district.

The   Court     finds    that   the   Defendant   consents   to   proceed     with   this   hearing    by

audio-teleconference after consultation with counsel. The case is ordered unsealed upon

motion of the government.             As required by Rule 5(f), the United States is ordered to

produce all information required by Brady v. Maryland and its progeny.               Not doing so in a

timely manner may result in sanctions, including exclusion of evidence, adverse jury

instructions, dismissal of charges, and contempt proceedings.           Defense counsel is to contact

United States Marshals regarding defendant=s dietary concerns.
                                                     Recorded by Courtsmart
                                                     BY: Michelle Sanders
                                                     Deputy Clerk
IA: 11 min
ID: 1 min.
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1:24 pm to 1:36 pm
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                              UNITED STATES DISTRICT COURT
                                                 DISTRICT OF ARIZONA

            United States of America
                       v.                                                           ORDER OF DETENTION PENDING TRIAL

      Jacob Anthony Angeli Chansley                                                 Case Number: MJ-21-05000-PHX-DMF

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held.
I conclude that the following facts are established: (Check one or both, as applicable.)
☒         by clear and convincing evidence the defendant is a danger to the community and require
          the detention of the defendant pending trial in this case.
☒         by a preponderance of the evidence the defendant is a flight risk and require the detention
          of the defendant pending trial in this case.

                                           PART I -- FINDINGS OF FACT
☐                  (1)   There is probable cause to believe that the defendant has committed
                 ☐ an offense for which a maximum term of imprisonment of ten years or more is
                   prescribed in 21 U.S.C. §§ 801 et seq., 951 et seq, or 46 U.S.C. App. § 1901 et
                   seq.
                 ☐ an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332(b).
                 ☐ an offense listed in 18 U.S.C. § 2332b(g)(5)(B) (Federal crimes of terrorism) for which a
                     maximum term of imprisonment of ten years or more is prescribed.
                 ☐ an offense involving a minor victim prescribed in .1
☐                  (2)   The defendant has not rebutted the presumption established by finding 1
                   that no condition or combination of conditions will reasonably assure the
                   appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings

☒                    (1)   There is a serious risk that the defendant will flee; no condition or
                     combination of conditions will reasonably assure the appearance of the defendant
                     as required.
☒                    (2)    No condition or combination of conditions will reasonably assure the safety
                     of others and the community.
☒                    (3)    There is a serious risk that the defendant will obstruct or attempt to obstruct
                     justice; or threaten, injure, or intimidate a prospective witness or juror.




    1
     Insert as applicable: Title 18, § 1201 (kidnapping), § 1591 (sex trafficking), § 2241 (aggravated sexual abuse), § 2242 (sexual abuse), §2244(a)(1)
(abusive sexual contact), § 2245 (offenses resulting in death), § 2251 (sexual exploitation of children), § 2251A (selling or buying of children), § 2252 et
seq. (certain activities relating to material involving sexual exploitation of minors), § 2252A et seq. (certain activities relating to material constituting or
containing child pornography), § 2260 (production of sexually explicit depictions of minors for importation into the U.S.), § 2421 (transportation for
prostitution or a criminal sexual activity offense), § 2422 (coercion or enticement for a criminal sexual activity), § 2423 (transportation of minors with
intent to engage in criminal sexual activity), § 2425 (use of interstate facilities to transmit information about a minor).
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        PART II -- WRITTEN STATEMENT OF REASONS FOR DETENTION
                        (Check one or both, as applicable.)
☒       (1)    I find that the credible testimony and information submitted at the hearing
        establishes by clear and convincing evidence as to danger that:

        As stated on the record in open court, the Defendant is detained as a
        danger based on Defendant’s actions and statements as alleged and
        proffered by the Government. Mr. Chansley’s actions and words
        demonstrate that he is willing to participate in violent disruption of the work
        of the United States government. His actions and words also shown that
        he is willing to participate in acts that put our elected officials as well as law
        enforcement officers and civilians in direct danger. Despite Mr. Chansley’s
        voluntary communications with federal investigators, the evidence before
        the Court confirm Mr. Chansley’s motivations and capabilities to participate
        in similar unlawful acts while on pretrial release. Mr. Chansley broke
        through barricades, unlawfully entered the Capitol Building, disobeyed
        police orders to leave, refused a police request to quell the crowd using his
        bullhorn, and instead ran up onto the dais where Vice President Pence had
        been presiding just minutes before and scrawled a threatening note. Mr.
        Chansley’s willingness to very publicly attempt to obstruct the official duties
        of the United States Congress certifying the vote count of the Electoral
        College makes clear his disregard for the importance of following orders
        during official proceedings such as the D.C. District Court case now
        charging him with serious crimes. Further, on Twitter in late November
        2020, Mr. Chansley has previously promoted identifying and then hanging
        those he believes to be traitors within the United States government. Mr.
        Chansley has expressed clear intent to return to Washington DC for
        President Elect Biden’s inauguration and has the means to do so. See also
        Number 5, below, incorporated by reference.


☒       (2)   I find by a preponderance of the evidence as to risk of flight that:

    ☐   The defendant has no significant contacts in the District of Arizona.
    ☒   The defendant has no resources in the United States from which he/she might
        make a bond reasonably calculated to assure his/her future appearance.
    ☐   The defendant has a prior criminal history.
    ☐   There is a record of prior failure to appear in court as ordered.
    ☐   The defendant attempted to evade law enforcement contact by fleeing from law
        enforcement.
    ☒   The defendant has a history of substance abuse.


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    ☐     The defendant has ties to a foreign country.
    ☐     The defendant has used aliases or multiple dates of birth or false identifying
          information.
    ☐     The defendant was on probation, parole, or supervised release at the time of the
          alleged offense.

    ☐     The defendant is facing a minimum mandatory of incarceration and a maximum
          of over 25 years in prison.
    ☐     The Court incorporates by reference the findings in the Pretrial Services Report
          which were reviewed by the Court at the time of the hearing in this matter.
    ☒     In addition:
    As stated on the record in open court, the evidence is that Mr. Chansley’s actions were
          contrary to the rule of law and were intentionally so. Based on the Defendant’s
          actions and statements as alleged and proffered by the Government, the Court
          has no confidence that the Defendant will follow any release conditions set by the
          Court, particularly when Mr. Chansley disagrees with the condition. Further, Mr.
          Chansley was in the first group of insurrectionists who entered the Capitol building.
          Mr. Chansley wore horns, a furry coyote tail headdress, red, white and blue face
          paint, and tan pants. He was shirtless and carried a bullhorn and a six-foot-long
          spear with an American flag tied just below the blade. The Government points out
          that this costume is how Mr. Chansley is known and that Mr. Chansley’s
          appearance in the costume is has made him notorious, but that without such face
          paint and costume, he is not widely known. Without this costume, Mr. Chansley
          has the benefit of anonymity, which would help him try to flee from prosecution.
          See also Number 5, below, incorporated by reference.


☒         (3)  The defendant does not dispute the information contained in the Pretrial
    Services Report, except:

☒         (4)   The weight of the evidence against the defendant is great.
☒         (5)   In addition:
    Mr. Chansley’s actions disrupted democratic processes and the work of United States
    elected officials. Indeed, Mr. Chansley intended that his actions disrupt the workings of
    the United States Government. Mr. Chansley intended that his actions stop process for
    peaceful transition of power. Mr. Chansley’s actions at our nation’s capitol were not
    only frightening to those at the capitol, but to people across the United States of
    America. The evidence is that Mr. Chansley’s actions were contrary to the rule of law
    and were intentionally so. While Mr. Chansley’s income is limited and sporadic – indeed
    he has no regular employment and owns no real property- if Mr. Chansley were
    released, he would be able to garner the support, financial and otherwise, of likeminded
    persons to Mr. Chansley. Mr. Chansley has the means to flee, to obstruct justice, and
    to carry out his violent threats. His statements and actions demonstrate that there is a
    serious risk that the Defendant will attempt to or obstruct justice if released. There are
    no conditions the Court can set that would reasonably assure the safety of the
    community, reasonably assure his appearance at further court proceedings, and/or
    reasonably assure that Mr. Chansley did not attempt to or obstruct justice. The

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      Defendant could at any time cut off a GPS monitor. The Court has considered possible
      release conditions, including GPS monitoring, in making these findings.

☐           (6)     The defendant has submitted the issue of detention to the Court based upon
      the Pretrial Services Report.


                     PART III -- DIRECTIONS REGARDING DETENTION

The defendant is committed to the custody of the Attorney General or his/her designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal. The defendant
shall be afforded a reasonable opportunity for private consultation with defense counsel. On
order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for
the purpose of an appearance in connection with a court proceeding.

                    PART IV -- APPEALS AND THIRD PARTY RELEASE

IT IS ORDERED that should an appeal of this detention order be filed with the District Court, it
is counsel's responsibility to deliver a copy of the motion for review/reconsideration to Pretrial
Services at least one day prior to the hearing set before the District Judge. Pursuant to Rule
59, FED.R.CRIM.P., Defendant shall have fourteen (14) days from the date of service of a copy
of this order or after the oral order is stated on the record within which to file specific written
objections with the District Court. Failure to timely file objections may waive the right to review.
See Rule 59, FED.R.CRIM.P.

IT IS FURTHER ORDERED that if a release to a third party is to be considered, it is counsel's
responsibility to notify Pretrial Services sufficiently in advance of the hearing before the District
Judge to allow Pretrial Services an opportunity to interview and investigate the potential third
party custodian.
      Dated this 19th day of January, 2021.




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                                                                                                                          CLOSED

                                   U.S. District Court
                         DISTRICT OF ARIZONA (Phoenix Division)
               CRIMINAL DOCKET FOR CASE #: 2:21-mj-05000-DMF All Defendants


 Case title: USA v. Chansley                                                           Date Filed: 01/08/2021
 Other court case number: 1:21-MJ-00018 District of Columbia                           Date Terminated: 01/19/2021


 Assigned to: Magistrate Judge Deborah M
 Fine

 Defendant (1)
 Jacob Anthony Angeli Chansley                                           represented by Gerald A Williams
 24866-509                                                                              Federal Public Defenders Office - Phoenix
 TERMINATED: 01/19/2021                                                                 850 W Adams St., Ste. 201
 also known as                                                                          Phoenix, AZ 85007
 Jacob Anthony Chansley                                                                 602-382-2700
 TERMINATED: 01/19/2021                                                                 Fax: 602-382-2800
                                                                                        Email: Gerald_Williams@fd.org
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Public Defender or
                                                                                        Community Defender Appointment

 Pending Counts                                                                         Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                      Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                             Disposition
 18:1752(a)(1) and (2) - Knowingly Entering
 or Remaining in any Restricted Building or
 Grounds Without Lawful Authority;
 40:5104(e)(2)(A) and (G) - Violent Entry
 and Disorderly Conduct on Capitol Grounds



 Plaintiff
https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?103798894991787-L_1_0-1                                                              1/4
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 USA                                                                     represented by Dimitra Hotis Sampson
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                                                                                        Fax: 602-514-7350
                                                                                        Email: dimitra.sampson@usdoj.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Assistant US Attorney

                                                                                       Kristen Brook
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                                                                                       602-514-7500
                                                                                       Email: todd.allison@usdoj.gov
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Assistant US Attorney

  Date Filed            #    Docket Text
  01/08/2021             1 *Arrest (Rule 5 from District of Columbia) of Jacob Anthony Chansley. (SLQ) *Modified
                           to regenerate NEF on 1/12/2021 (SCH). (Entered: 01/11/2021)
  01/11/2021             2 *MINUTE ENTRY for proceedings held before Magistrate Judge Deborah M Fine: Initial
                           Appearance in Rule 5(c)(3) Proceedings as to Jacob Anthony Chansley held on 1/11/2021.
                           Appointment of counsel hearing held. Appearance entered by Gerald A Williams for Jacob
                           Anthony Chansley on behalf of defendant (for proceedings in District of Arizona only).
                           Defendant sworn as to financial status. Defendant states his true name to be Jacob
                           Anthony Angeli Chansley. Further proceedings ordered in defendant's true name. Identity
                           Hearing as to Jacob Anthony Chansley waived on 1/11/2021. The court finds identity has
                           been established. Detention Hearing set for 1/15/2021 at 02:30 PM in Courtroom 304, 401
                           West Washington Street, Phoenix, AZ 85003 before Magistrate Judge Deborah M Fine.
                           Defendant temporarily detained pending further proceedings in this district. Preliminary
                           Hearing reserved for prosecuting district. The case is ordered unsealed upon motion of the
                           government. (See document for further details). (Recorded by COURTSMART.) Hearing
                           held 1:24 PM to 1:36 PM.(LAD) *Modified to add text on 1/11/2021 (LAD). Modified to
                           regenerate NEF on 1/12/2021 (SCH). (Entered: 01/11/2021)

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  01/12/2021            4 *ORDER as to Jacob Anthony Angeli Chansley Re Defendant's Restrictive Diet.
                           ORDERED that the Court takes no additional action at this time. Signed by Magistrate
                           Judge Deborah M Fine on 1/12/21. (cc: USMS) (MAP) *Modified to regenerate NEF on
                           1/12/2021 (SCH). (Entered: 01/12/2021)
  01/14/2021             5 MEMORANDUM by USA as to Jacob Anthony Angeli Chansley in Support of Detention.
                           (Attachments: # 1 Exhibit Attachment A, # 2 Exhibit Attachment B)(Brook, Kristen)
                           (Entered: 01/14/2021)
  01/15/2021             8 NOTICE OF ATTORNEY APPEARANCE: Todd M. Allison appearing for USA .
                           (Allison, Todd) (Entered: 01/15/2021)
  01/15/2021             9 MINUTE ENTRY for proceedings held before Magistrate Judge Deborah M Fine:
                           Detention Hearing as to Jacob Anthony Angeli Chansley held on 1/15/2021. The Court
                           finds that the Defendant consents to proceed with this hearing by video-teleconference
                           (VTC) after consultation with counsel. Counsel proceed by way of proffer. Upon motion of
                           the Government, IT IS ORDERED striking the portion of the Government's Brief in
                           Support of Detention (Doc. 5 ) at page 15, 1st sentence of lines 17-19. Argument is
                           presented. Defendant ordered detained pending further proceedings as a serious flight risk,
                           a serious risk of obstructing justice, and danger to the community. Defendant ordered
                           remanded to United States Marshal Service for transport, in custody, to the charging
                           district for further proceedings regarding the Indictment.

                             Appearances: AUSA Todd Allison, Kristen Brook and Dimitra Sampson for the
                             Government. AFPD Gerald Williams for defendant. Defendant is present via VTC and in
                             custody. (Recorded by COURTSMART.) Hearing held 2:35 PM and 3:35 PM to 3:18 PM
                             and 4:03 PM. This is a TEXT ENTRY ONLY. There is no PDF document associated with
                             this entry. (MSA) (Entered: 01/15/2021)
  01/19/2021           10 ORDER OF DETENTION as to Jacob Anthony Angeli Chansley. Signed by Magistrate
                          Judge Deborah M Fine on 1/19/2021. (CIS) (Entered: 01/19/2021)
  01/19/2021           11 COMMITMENT TO ANOTHER DISTRICT as to Jacob Anthony Angeli Chansley.
                          Defendant committed to the District of Columbia - Washington DC. Signed by Magistrate
                          Judge Deborah M Fine on 1/15/2021. (CIS) (Entered: 01/19/2021)
  01/19/2021           12 Notice to District of Columbia (Washington DC) of a Rule 5 or Rule 32 Initial Appearance
                          as to Jacob Anthony Angeli Chansley. Your case number is: 1:21-cr-00003-RCL-1. Please
                          use PACER Court Links to access the public docket and documents.

                             (If you wish to designate a different email address for future transfers, please send your
                             request to the national list host at InterdistrictTransfer_TXND@txnd.uscourts.gov.) (CIS)
                             (Entered: 01/19/2021)
  02/03/2021           13 JUDICIAL TRANSCRIPT REQUEST by Royce C. Lamberth, Senior District Judge
                          (USDC, District of District of Columbia) as to Jacob Anthony Angeli Chansley for
                          proceedings held on 01/15/2021, Magistrate Judge Deborah M Fine hearing judge(s).
                          (RAP) (Entered: 02/03/2021)
  02/09/2021           14 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of DETENTION HEARING
                          proceedings as to Jacob Anthony Angeli Chansley held on 01/15/2021, before Magistrate
                          Judge DEBORAH M. FINE. [Transcriber: Candy L. Potter, Telephone number (602) 322-
                          7246]. The ordering party will have electronic access to the transcript immediately. All
                          others may view the transcript at the court public terminal or it may be purchased through
                          the Court Reporter/Transcriber by filing a Transcript Order Form on the docket before the
                          deadline for Release of Transcript Restriction. After that date it may be obtained through

https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?103798894991787-L_1_0-1                                                    3/4
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                           PACER. Redaction Request due 3/2/2021. Redacted Transcript Deadline set for 3/12/2021.
                           Release of Transcript Restriction set for 5/10/2021. (RAP) (Entered: 02/11/2021)



                                                         PACER Service Center
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                                   Description: Docket Report
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                                   Exempt flag: Exempt                                     Always
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PACER fee: Exempt




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